                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


IN RE:
                                                     Case No. 3:17-bk-04932
STEPHEN JETTON TAYLOR,                               Chapter 13
                                                     Judge Walker
      Debtor.


STEPHEN JETTON TAYLOR,

      Plaintiff,

v.                                                   Adversary No. 3:18-ap-90060

LOANCARE,

      Defendant.


                LOANCARE, LLC’S REPLY TO PLAINTIFF’S RESPONSE TO ITS
                         MOTION FOR SUMMARY JUDGMENT

          COME NOW, LoanCare, LLC (“LoanCare”) and files this Reply to the Plaintiff’s

 Response to its Motion for Summary Judgment, respectfully showing this Honorable Court as

 follows:

                       ARGUMENT AND CITATION OF AUTHORITY

 A.       WHETHER LOANCARE HAD ACTUAL NOTICE OF THE MOTION TO
          DISALLOW IS IRRELEVANT
          In LoanCare’s Motion for Summary Judgment, it argued that the Trustee’s Motion to

 Disallow was not properly served on it, and thus the resulting order is void. The Plaintiff

 responded that LoanCare never argued it did not have actual notice which would overcome any

 deficiencies in service of process and that the Trustee properly served the Motion to Disallow.

 The Plaintiff is wrong on both accounts.


                                               1

Case 3:18-ap-90060       Doc 37    Filed 10/29/19 Entered 10/29/19 15:23:38          Desc Main
                                   Document     Page 1 of 7
        First, he argued that adherence to Rule 7004 is essentially optional provided that the

affected party received actual notice, and LoanCare did not argue that it never received actual

notice. In support of this argument, the Plaintiff relies primarily on In re Fusco, an unpublished

Bankruptcy Appellate Panel decision from the Sixth Circuit. No. 08-8028, 2008 WL 4298584,

397 B.R. 544 (Table decision) (B.A.P. 6th Cir. Sept. 19, 2008). In Fusco, the Court found that

non-compliance with Rule 7004 did not impact the proceedings because “notice is adequate

when it is shown that although a party did not receive formal notice, actual notice was received.”

2008 WL 4298584, at *6 (citing Creditors Comm. of Park Nursing Ctr., Inc. v. Samuels (In re

Park Nursing Ctr., Inc.), 766 F.2d 261 (6th Cir. 1985)).

        The problem, though, it that Park Nursing Ctr. does not stand for this proposition. In

Park Nursing Ctr., a creditor argued that former Bankruptcy Rule 704(c)(1), which provided for

service of process by first class mail, was unconstitutional “whether notice is received or not.”

766 F.2d at 262. The Court then stated that “[t]he question before us is whether Bankruptcy Rule

704(c)(1) permitting service of process by first class mail satisfies the constitutional

requirements of procedural due process . . . ” in that it was “reasonably [ ] calculated to achieve

actual notice.” Id. It held that it did. Id. at 263. In other words, the Court did not hold that actual

notice can overcome deficient service of process, but instead that proper service of process by

first class mail is constitutional, regardless of actual notice.

        Most importantly, the Sixth Circuit has held that “actual notice does not constitute service

of process . . . .” Arthur v. Litton Loan Servicing LP, 249 F. Supp. 2d 924, 927 (E.D. Tenn. 2002)

(citing LSJ Inv. Co., Inc. v. O.L.D., Inc., 167 F.3d 320, 322 (6th Cir. 1999); Friedman v. Estate

of Presser, 929 F.2d 1151, 1155-56 (6th Cir. 1991)). As stated in LSJ, the Sixth Circuit “will not

allow actual knowledge of a lawsuit to substitute for proper service under Fed. R. Civ. P. 4.” 167



                                                    2

Case 3:18-ap-90060        Doc 37     Filed 10/29/19 Entered 10/29/19 15:23:38              Desc Main
                                     Document     Page 2 of 7
F.3d at 322. Thus, to the extent that Fusco holds the opposite, it is plainly incorrect and not in

line with binding Sixth Circuit precedent. In order for an order on the Motion to Disallow to be

valid, LoanCare must have been properly served under Rule 7004. See, e.g., In re Hogrobrooks;

Hogrobrooks v. Educ. Mgmt. Co., No. 98-32476-K, 2006 WL 6630689, at *3 (Bankr. W.D.

Tenn. Dec. 6, 2006), aff'd sub nom. Hogrobrooks v. Texas Guaranteed Student Loan Corp., No.

07-2178, 2008 WL 4442543 (W.D. Tenn. Sept. 25, 2008) (collecting cases) (strict compliance

with Rule 7004 is required). As set forth in LoanCare’s Motion for Summary Judgment, it was

not.

       The Plaintiff further relies on United States Aid Funds, Inc. v. Espinosa, 559 U.S. 260

(2010) for the proposition that if a creditor has actual notice, then due process is satisfied.

However, Espionosa was a challenge to a provision in a confirmed bankruptcy plan. The

Plaintiff himself stated that “[b]ecause the Debtor showed proof that the creditor had received

actual notice of the confirmation order, the Supreme Court stated that the creditor’s due process

rights had not been violated.” [Doc. 25] at pp. 6-7. Service of bankruptcy plans, though, are not

governed by Rule 7004 unless the plan seeks to value a secured claim. See Fed. R. Bankr. P.

3012(b). Because the instant case is not about plan confirmation but instead is about a contested

matter to which Rule 7004 unquestionably applied, Espniosa is inapposite. This Court should

find that service of the Motion to Disallow did not comply with Rule 7004.

B.     THERE IS NO SUBSTANTIVE DEFECT IN THE LIEN THAT WOULD ALLOW
       IT TO BE VOIDED

       Next, the Plaintiff refutes that he “manufactured a situation in which he filed a skeletal

claim that he undoubtedly knew the Trustee would move to disallow, and now that it has been

disallowed, wants to be rewarded for such actions by obtaining a free house.” See [Doc. 25] at p.

9. He argues that he had the right under the rules to file a claim on behalf of the creditor (which

                                                3

Case 3:18-ap-90060       Doc 37    Filed 10/29/19 Entered 10/29/19 15:23:38            Desc Main
                                   Document     Page 3 of 7
he clearly did) and that this shifted a burden to LoanCare “to comply with certain requirements”

pursuant to Rule 3001(c). Id. Such could not be further from the truth.

       Rule 3001(c) sets forth the supporting information that must be attached to a proof of

claim. The specific rule regarding debtor-filed claims, Rule 3004, says only that

       If a creditor does not timely file a proof of claim under Rule 3002(c) or 3003(c),
       the debtor or trustee may file a proof of the claim within 30 days after the
       expiration of the time for filing claims prescribed by Rule 3002(c) or 3003(c),
       whichever is applicable. The clerk shall forthwith give notice of the filing to the
       creditor, the debtor and the trustee.

       Since Rule 3004 directs that a debtor can file a proof of claim, and Rule 3001 applies to

all proofs of claim, Rule 3001(c) applies equally to creditor-filed and debtor-filed claims and

requires documentation of the claim to be attached. The Debtor and his attorney were aware of

the requirements for proofs of claim, and rather than making even the slightest attempt to comply

with Rule 3001(c), attached absolutely nothing to the proof of claim, which was appropriately

characterized as “skeletal.” See [Claim No. 8-1]. Not even the Deed of Trust – a document of

public record – was included. This is wholly a situation of the Plaintiff’s own making, and any

suggestion otherwise is incorrect.

       Following the filing of the skeletal claim, the Trustee moved to disallow the claim for

failure to “provide information in accordance with Rule 3001(c)” and failure to attached Form

410A regarding the loan history. [Bk. Doc. 32] at p. 1. This Court granted the motion, stating

that

           The Court finds that the Trustee’s application is uncontested based upon the
       failure of Loancare to appear at the hearing on this matter. Based upon the
       evidence submitted by the Trustee, the Court finds that the proof of claim does
       not document the power of the servicer to enforce the claim in that it does not
       contain a mortgage note or deed of trust.

[Bk. Doc. 38].



                                                4

Case 3:18-ap-90060       Doc 37      Filed 10/29/19 Entered 10/29/19 15:23:38         Desc Main
                                     Document     Page 4 of 7
        As set forth in LoanCare’s brief in support of its Motion for Summary Judgment, this was

not a disallowance due a substantive defect in the lien, and as such, it cannot result in the lien

being disallowed. The only case cited by the Plaintiff that appeared to hold otherwise is HSBC

Bank USA, Nat’l Ass’n v. Blendheim (In re Blendheim), 803 F.3d 477 (9th Cir. 2015). However,

Blendheim is not on point, as explained by a subsequent case from the Ninth Circuit Bankruptcy

Appellate Panel. See In re Lane, 589 B.R. 399, 409 (B.A.P. 9th Cir. 2018), appeal pending, No.

18-60059 (9th Cir.).

        In Lane, the BAP noted that the claim in Blendheim “was challenged on the substantive

ground of forgery” which meant that the claim was disallowed based on a substantive defect in

the lien. Id. at 409-10. “Implicit in Blendheim’s analysis is a conclusion that § 506(d) should

apply only when a claim disallowance addresses the merits of the underlying debt.” Id. at 409.

The BAP then went on to find in favor of the creditor, whose claim was initially disallowed for

lack of standing to enforce the promissory note underlying the deed of trust. Id. The BAP found

this to be a non-substantive defect and would be an affront to due process if allowed, as it was

undisputed that some entity held the note and a court could not void its lien if that party was not

before it. Id. at 411.

        This due process issue is perhaps one of the most important reasons why this Court

cannot void the deed of trust at issue. In finding that a claimant lacks standing to enforce a claim

and not the claim is invalid in substance, it is implicit in such a finding that there is some party

out there with standing. This is especially true on a claim based on bearer paper, such as the

instant claim. Moreover, the Plaintiff here has never disputed the existence of the mortgage loan

– after all, he filed the claim himself. If this Court was to void the lien, it would be “violat[ing]

an unknown party’s due process rights by expunging its deed of trust without notice and an



                                                 5

Case 3:18-ap-90060       Doc 37    Filed 10/29/19 Entered 10/29/19 15:23:38              Desc Main
                                   Document     Page 5 of 7
opportunity to be heard.” Id. (citing Tennant v. Rojas (In re Tennant), 318 B.R. 860, 870 (9th

Cir. B.A.P. 2004)); see also In re Pinnock, 594 B.R. 609, 618 (Bankr. S.D.N.Y. 2018). A

bankruptcy court “[cannot] void a lien belonging to a party not before it . . . .” Id. Quite simply,

the disallowance of a proof of claim for lack of standing is not a substantive defect that would

allow the lien to be voided, and there is no known case law whatsoever to support the Plaintiff’s

position. Summary judgment should be granted to LoanCare.

C.     IT IS IRRELEVANT WHEN LOANCARE OBTAINED THE NOTE

       The remainder of the Plaintiff’s Response is based on an argument that LoanCare “has

submitted no proof that the note was in its possession at the time of the bankruptcy filing” and

that “Defendant has failed to establish proof that it held the note at the time of the case filing and

claim disallowance . . . .” [Doc. 25] at pp. 13-16. However, the Plaintiff never once explains how

this is relevant to his claim or why it matters at all. In fact, LoanCare noted in its brief that it

“asserts that such an allegation is not part of a potential lien avoidance under Section 506 . . . .”

[Doc. 22] at p. 8. There is no element of a lien avoidance action that says that the defendant must

have held the note on the petition date or the date of the claim disallowance. Quite simply, this is

a red herring and the Plaintiff’s argument should be disregarded. Summary judgment in favor of

LoanCare should be granted.

                                          CONCLUSION

       Based on the foregoing, LoanCare respectfully renews its request that this Court grant its

Motion for Summary Judgment.




                                                  6

Case 3:18-ap-90060       Doc 37     Filed 10/29/19 Entered 10/29/19 15:23:38              Desc Main
                                    Document     Page 6 of 7
       Respectfully submitted, this 29th day of October 2019.

                                                    /s/ Bret J. Chaness
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of October 2019, I caused a copy of the within and

foregoing to be filed by CM/ECF, which will serve notice on all parties.

                                                    /s/ Bret J. Chaness
                                                    BRET J. CHANESS (BPR # 31643)




                                                7

Case 3:18-ap-90060      Doc 37    Filed 10/29/19 Entered 10/29/19 15:23:38          Desc Main
                                  Document     Page 7 of 7
